Case: 4:04-cr-00572-JCH   Doc. #: 409 Filed: 01/29/07   Page: 1 of 14 PageID #:
                                     1079


                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MISSOURI
                           EASTERN DIVISION

UNITED STATES OF AMERICA,          )
                                   )
                 Plaintiff,        )
                                   )
           v.                      )     No. 4:04CR572 JCH
                                   )                  (FRB)
ROBIN YVETTE ROBINSON,             )
                                   )
                 Defendant.        )


                              MEMORANDUM,
                       REPORT AND RECOMMENDATION
                   OF UNITED STATES MAGISTRATE JUDGE


           All pretrial motions in the above cause were referred to

the undersigned United States Magistrate Judge pursuant to 28

U.S.C. § 636(b).

           Defendant’s Motion To Suppress Contents Of Any And All
           Electronic Surveillance (Docket No. 215)

           Testimony and evidence was adduced on the defendant's

motion at a hearing on February 9, 2005.           From the testimony and

evidence adduced at the hearing the undersigned makes the following

findings of fact and conclusions of law:

                             Findings of Fact

           The evidence adduced at the evidentiary hearing shows

that the government conducted court ordered electronic surveillance

during the investigation of the matters alleged in the indictment.

The government intends to offer in evidence at trial conversations

of the defendant which were intercepted and recorded during such

surveillance.
Case: 4:04-cr-00572-JCH        Doc. #: 409 Filed: 01/29/07      Page: 2 of 14 PageID #:
                                          1080


            On April 21, 2004, Assistant United States Attorney Sam

C. Bertolet appeared before United States District Judge Rodney W.

Sippel    and     made    an     application      for     interception        of     wire

communications      over       telephone      number    (314)     479-1258.          (See

Government’s Exhibit 1-1.)           The application was accompanied by and

referred to an affidavit of Special Agent Richard D. Wagner, of the

Drug Enforcement Administration (DEA), which was also signed and

sworn before Judge Sippel on April 21, 2004.                      (See Government’s

Exhibit 1-2.)       Agent Wagner’s affidavit established that he was

investigating several persons, including the defendant Robin Yvette

Robinson for distribution of cocaine and heroin in violation of

various    federal       laws.          The   affidavit      indicated        that      the

communications of those individuals were expected to be intercepted

on telephone number (314) 479-1258 which was subscribed to by Maria

Teresa Taca, another of the persons under investigation.                                The

communications      expected       to    be   intercepted       and    sought      to    be

intercepted concerned the specifics of the narcotics distribution

ring,     including      the     organization’s         methods       and   extent      of

operations, the identification of accomplices and co-conspirators,

the location of points and times of distribution, and the manner in

which proceeds of distribution activities were being stored and

transferred.

            The    affidavit       set    out    that    the    DEA     had    received

information from three separate confidential sources involving the

activities of the persons named above in the distribution of


                                         - 2 -
Case: 4:04-cr-00572-JCH   Doc. #: 409 Filed: 01/29/07   Page: 3 of 14 PageID #:
                                     1081

controlled substances.      Two of the confidential sources had been

involved with some named subjects of the investigation through the

purchase of controlled substances.           The affidavit set out the

nature of the relationship between the confidential sources and the

subjects,    and   described    transactions     and    conversations     that

occurred between the subjects and confidential sources during which

the distribution of drugs or related matters were carried on or

discussed.     The affidavit also described related law enforcement

activities which had corroborated or confirmed information provided

by the informants. The affidavit also described that court ordered

pen register surveillance had been conducted on the telephone for

which the wiretap order was being sought, and that information

gathered through the use of the pen registers, described in detail

in the affidavit, showed extensive contacts between the subjects

using the described telephone.

             Lastly, the affidavit explained why the wiretap was

needed and the reasons why alternative investigative techniques had

not been, or were not likely to be, successful in determining the

scope of the organization’s activities, their methods of operations

or in identifying sources of drugs and other co-conspirators.              The

affidavit explained that the activities were spread over a wide

geographic area making surveillance difficult.           Further, counter-

surveillance activity had been conducted by some subjects, and the

subjects had detected the presence of surveillance.                  Although

confidential sources had provided information, they were unaware of

the full scope of the members or methods of the organization.


                                   - 3 -
Case: 4:04-cr-00572-JCH        Doc. #: 409 Filed: 01/29/07        Page: 4 of 14 PageID #:
                                          1082

Undercover agents had not been introduced into the investigation

because it was unlikely that they could infiltrate upper levels of

the organization.          Investigating officers had                 been unable to

develop    probable     cause     for    search        warrants    because    they   had

insufficient information as to specific locations where drugs were

delivered or kept.         Further, execution of search warrants might

alert     the    organization      to    the     investigation        and    cause   the

destruction      of    evidence.         Pen    register      information      revealed

contacts between the subjects but provided no information on the

subject matter of those contacts.

            On    April    21,     2004,       Judge    Sippel    signed     the   order

authorizing the interception of wire communications over telephone

number (314) 479-1258.          (See Government’s Exhibit 1-3.)               The order

states that the Court had found there was probable cause to believe

that the listed individuals were committing violations of 21 U.S.C.

841(a)(1), 843(b), 846 and Title 18 U.S.C. §§ 1956 and 1957; that

the   telephone       listed    was     being    used    in   connection      with   the

commission of those offenses; and that communications concerning

the offenses were likely to be intercepted.                   The order also noted

that normal investigative techniques had been tried and had failed,

reasonably appeared to be unlikely to succeed if tried; and were

too dangerous to be employed.               The order authorized the wiretap

interception for thirty (30) days.

            On May 25, 2004, Assistant United States Attorney John T.

Davis appeared before United States District Judge Catherine D.

Perry and made an application for Continued Interception of Wire


                                         - 4 -
Case: 4:04-cr-00572-JCH     Doc. #: 409 Filed: 01/29/07    Page: 5 of 14 PageID #:
                                       1083

Communications       over   telephone    number    (314)     479-1258.       (See

Government’s Exhibit 1-10).         The application was again accompanied

by and referred to an affidavit of DEA Special Agent Richard D.

Wagner.     The affidavit incorporated the information set out in

Agent     Wagner’s     previous     affidavit     accompanying       the    first

application. The affidavit set out some of the information learned

as a result of the first 30 day interception period.              The affidavit

noted that the information learned during the first interception

had been helpful but that it had not revealed the entire scope of

the organization and its activities.          (See Government’s Exhibit 1-

11).

            On May 25, 2004, Judge Perry signed the order authorizing

the continued interception of wire communications over telephone

number (314) 479-1258. (See Government’s Exhibit 1-12). The Order

states that the Court found that there was probable cause to

believe that the listed individuals were committing violations of

21 U.S.C. §§     841(a)(1), 843(b), 846 and 18 U.S.C. §§ 1956 and

1957; that the telephone listed was being used in connection with

the     commission    of    those   offenses;     and     that   communications

concerning the offenses were likely to be intercepted.                 The order

again noted that normal investigative techniques had been tried and

failed, reasonably appeared to be unlikely to succeed if tried, or

were too dangerous to be employed.                The Order authorized the

continued wiretap interception for 30 days.

            On June 10, 2004, Assistant United States Attorney John

T. Davis appeared before United States District Judge Rodney W.


                                     - 5 -
Case: 4:04-cr-00572-JCH        Doc. #: 409 Filed: 01/29/07          Page: 6 of 14 PageID #:
                                          1084

Sippel     and    made    an     application          for    interception         of      wire

communications      over       telephone      number        (314)    283-2828.            (See

Government’s Exhibit 2-1.)           The application was accompanied by and

referred to an affidavit of Special Agent Richard D. Wagner, of the

Drug Enforcement Administration (DEA), which was also signed and

sworn before Judge Sippel on June 10, 2004.                          (See Government’s

Exhibit 2-2.)       Agent Wagner’s affidavit established that he was

investigating several persons, including Donnell Robinson, for

distribution of cocaine and heroin in violation of various federal

laws.     The affidavit indicated that the communications of those

individuals were expected to be intercepted on telephone number

(314) 283-2828 which investigation showed had been used by Donnell

Robinson    in    the    distribution        of      controlled      substances.            The

communications      expected       to   be      intercepted         and    sought      to    be

intercepted concerned the specifics of the narcotics distribution

ring,     including      the     organization’s          methods          and    extent     of

operations, the identification of accomplices and co-conspirators,

the location of points and times of distribution, and the manner in

which proceeds of distribution activities were being stored and

transferred.

            The    affidavit        set      out      the    details        of    the       DEA

investigation outlined in the affidavits submitted in support of

the previous applications described above.                           (See Government’s

Exhibit     1-2    and    1-11.)          The      affidavit        described       several

conversations intercepted on the previously authorized wiretaps in

which     arrangements      were     made       by     Donnell      Robinson       for      the


                                          - 6 -
Case: 4:04-cr-00572-JCH    Doc. #: 409 Filed: 01/29/07     Page: 7 of 14 PageID #:
                                      1085

distribution of cocaine and heroin to others in the organization

using the telephone to which this application was addressed.                   The

affidavit       also   described     that     court   ordered    pen    register

surveillance had been conducted on the telephone for which the

wiretap order was being sought, and that information gathered

through the use of the pen registers, described in detail in the

affidavit, showed extensive contacts between the subjects using the

described telephone.

            Lastly, the affidavit explained why the wiretap was

needed and the reasons why alternative investigative techniques had

not been, or were not likely to be, successful in determining the

scope of the organization’s activities, their methods of operations

or in identifying sources of drugs and other co-conspirators.                  The

affidavit explained that the activities were spread over a wide

geographic area making surveillance difficult.              Further, counter-

surveillance activity had been conducted by some subjects, and the

subjects had detected the presence of surveillance.                      Although

confidential sources had provided information, they were unaware of

the full scope of the members or methods of the organization.

Undercover agents had not been introduced into the investigation

because it was unlikely that they could infiltrate upper levels of

the organization.         Investigating officers had been unable to

develop    probable    cause   for    search    warrants    because     they   had

insufficient information as to specific locations where drugs were

delivered or kept.        Further, execution of search warrants might

alert     the   organization   to     the     investigation     and    cause   the


                                      - 7 -
Case: 4:04-cr-00572-JCH       Doc. #: 409 Filed: 01/29/07     Page: 8 of 14 PageID #:
                                         1086

destruction     of    evidence.         Pen   register     information     revealed

contacts between the subjects but provided no information on the

subject matter of those contacts.             Although previous interceptions

had identified Donnell Robinson as a member of the distribution

organization, it did not reveal information regarding his sources

of narcotics or of the location of “safe houses” used by Robinson,

or of his money laundering techniques.

           On     June    10,    2004,    Judge      Sippel   signed     the   order

authorizing the interception of wire communications over telephone

number (314) 283-2828.          (See Government’s Exhibit 2-3.)           The order

states that the Court had found there was probable cause to believe

that the listed individuals were committing violations of 21 U.S.C.

841(a)(1), 843(b), 846 and Title 18 U.S.C. §§ 1956 and 1957; that

the   telephone      listed     was   being   used    in    connection    with   the

commission of those offenses; and that communications concerning

the offenses were likely to be intercepted.                 The order also noted

that normal investigative techniques had been tried and had failed,

reasonably appeared to be unlikely to succeed if tried; and were

too dangerous to be employed.              The order authorized the wiretap

interception for thirty (30) days.

                                      Discussion

           In her motion the defendant makes general references to

various requirements set out in federal statues relating to the

interception of wire and oral communications.                   See 18 U.S.C. §§

2510 et. seq.        She specifically avers that the government in the

instant case did not adequately comply with 18 U.S.C. § 2518(1)(c),


                                         - 8 -
Case: 4:04-cr-00572-JCH       Doc. #: 409 Filed: 01/29/07          Page: 9 of 14 PageID #:
                                         1087

requiring     that     each        application        for   interception        of    oral

communications shall set forth “a full and complete statement as to

whether or not other investigative procedures have been tried and

failed or why they reasonably appear to be unlikely to succeed if

tried or to be too dangerous”.                   She also avers that the type of

interception utilized by the government in this case went beyond

the scope of the application (and presumably order of the court)

apparently     claiming       that        conversations      were        overheard    and

intercepted beyond those of the type sought to be intercepted by

the application and as ordered by the court.

             Title III of the Omnibus Crime Control and Safe Streets

Act of 1968, codified at 18 U.S.C. §§ 2510, et seq., provides for

the interception of wire, oral and electronic communications under

certain circumstances. Under that statute, an order for electronic

surveillance may be entered by a United States District Judge upon

the application of a federal law enforcement officer who has been

authorized to make such application by the United States Attorney

General or her authorized designee.                   An authorization for such an

application is presumed to be valid unless the person challenging

the application makes a prima facie showing that it was not so

authorized.     See United States v. O'Connell, 841 F.2d 1408, 1416

(8th Cir.), cert. denied, 487 U.S. 1210 (1988) and 488 U.S. 1011

(1989).      The     application          must    include    a    full    and   complete

description of the facts relied upon, including details of the

alleged     offense;       description           of   the   facilities       where    the

communications       are      to     be    intercepted;          description     of   the


                                           - 9 -
Case: 4:04-cr-00572-JCH      Doc. #: 409     Filed: 01/29/07    Page: 10 of 14 PageID #:
                                           1088

communications       sought to be intercepted; the identity of the

persons whose communications will be intercepted; whether other

investigative procedures have been tried; and the period of time

for which the interception is requested. The application must also

indicate     whether       previous     applications           involving     the   same

facilities, persons or places have been made.                   18 U.S.C. § 2518(1).

The application here contained all of the statutorily required

elements:      it was made by an Assistant United States Attorney;

contained an authorization from an Assistant Attorney General

designated to make such authorization; and included the identifying

items regarding the persons, places and communications sought to be

intercepted.        It    also   indicated       that   it     sought   to   intercept

communications for no more than thirty (30) days.                       There was no

error in the form of the application.

             Under 18 U.S.C. § 2518(3), the court may issue the order

only if it finds probable cause to believe that (1) a person is

committing one of the crimes enumerated in 18 U.S.C. § 2516, (2)

communications concerning such an offense will be obtained through

interception, and (3) the place where the communications are to be

intercepted is being used in connection with the commission of such

an offense.        The court must also find that normal investigative

procedures have been tried and have failed or reasonably appear to

be unlikely to succeed if tried or they appear to be too dangerous.

In   order    to    find    that    normal      investigative         techniques    are

inadequate,    the       court   need   not    find     that    the   government    has




                                        - 10 -
Case: 4:04-cr-00572-JCH   Doc. #: 409     Filed: 01/29/07   Page: 11 of 14 PageID #:
                                        1089

exhausted every conceivable normal investigative technique.                      18

U.S.C. 2518(1)(c).

           Here the applications and affidavits provided in support

of the wiretaps provided an ample basis for the finding of probable

cause to issue the wiretap order. The affidavits provided detailed

information     obtained     from       reliable      confidential       sources,

surveillance by law enforcement officials, other law enforcement

techniques, and pen registers indicating that the persons using the

subject wire communication facilities were engaged in violations of

the controlled substances laws were using the specified telephones

as part of their narcotics distribution activities.                     There was

probable cause to believe that the crimes were being committed,

that the subject telephones were being used for the commission of

those crimes, and that the intercepts were likely to result in the

interception of communications involving the criminal activity.

Thus, there was an ample basis for the finding of probable cause.

           Under 18 U.S.C. § 2518(4), the order must specify the

identity of the person whose communications are to be intercepted,

the nature and location of the communication facilities where the

intercept is granted, the type of communications to be intercepted,

the identity of the agency and of the person performing the

interception, and the period of time during which the interception

is authorized.     The period of time may be longer than thirty (30)

days. 18 U.S.C. § 2518(5).       Each of the orders here fully complied

with this requirement.




                                    - 11 -
Case: 4:04-cr-00572-JCH   Doc. #: 409     Filed: 01/29/07   Page: 12 of 14 PageID #:
                                        1090

           The defendant’s main argument for suppression of the

wiretap evidence is that the affidavit of Agent Wagner fails to

meet the so-called necessity requirement of 18 U.S.C. § 2518(1)(c)

that normal investigative procedures have been tried and failed or

appear unlikely to succeed or are too dangerous.


           [T]he necessity requirement of section 2518
           was meant to insure that wiretaps are not
           routinely employed as the initial step in an
           investigation. Thus, while the statute does
           require that normal investigative procedures
           be used first, it does not require that law
           enforcement officers exhaust all possible
           techniques before applying for a wiretap. The
           government is simply not required to use a
           wiretap only as a last resort. Whether the
           statutory requirement is met is to be
           determined   by  the   issuing   judge  in  a
           commonsense manner . . .


United States v. Macklin, 902 F.2d 1320, 1326-27 (8th Cir. 1990),

cert. denied 498 U.S. 1031 (1991).            Here, the wiretap was not used

as the initial step in the investigation.             The affidavit described

various techniques used by law enforcement officials to gather

evidence in the case.         Although some of these techniques had

developed some evidence, “Even if conventional techniques have been

somewhat successful . . . a wiretap may still be authorized.”

United States v. Maxwell, 25 F.3d 1389, 1394 (8th Cir. 1994).                   The

affidavit described why some investigative techniques had failed or

why they would be of no value.             The affidavit further described

that the use of various techniques had failed to fully reveal the

full scope of the conspiracy, its complete membership and methods




                                   - 12 -
Case: 4:04-cr-00572-JCH    Doc. #: 409     Filed: 01/29/07    Page: 13 of 14 PageID #:
                                         1091

of     operation.      This   is   sufficient        to      meet   the   necessity

requirement.     United States v. Thompson, 210 F.3d 855, 858-59 (8th

Cir. 2000).

            18 U.S.C. § 2518(5) imposes a duty on the government to

conduct the surveillance in a way to ensure that unauthorized

interceptions will be minimized.             Whether the government complied

with     those      requirements    is       determined       by    an    objective

reasonableness standard.        United States v. Williams, 109 F.3d 502,

507 (8th Cir. 1997).          The burden is upon the defendant to show

that the government did not meet the minimization requirements.

United States v. Garcia, 785 F.2d 214, 221-22 (8th Cir.), cert.

denied, sub. nom. Barker v. United States, 475 U.S. 1143 (1986);

United States v. Giacalone, 853 F.2d 470, 482 (6th Cir. 1988).                    The

defendant has offered no evidence that the government did not meet

the minimization requirement.               At the hearing the government

offered evidence that extensive efforts were made to comply with

those requirements.        Before monitoring began an Assistant United

States Attorney provided the agents with detailed directions both

orally and in writing as to proper minimization procedures.                      Each

monitoring agent had to read these procedures and sign a statement

stating that he read and understood the minimization procedures.

(See Government’s Exhibit 1-4.)             Agent Wagner testified that each

agent read and understood the minimization procedures, and that the

minimization procedures were implemented at all stages of the

wiretap by all agents.        Thus, the evidence here shows that agents




                                    - 13 -
Case: 4:04-cr-00572-JCH   Doc. #: 409     Filed: 01/29/07    Page: 14 of 14 PageID #:
                                        1092

made objectively reasonably efforts to minimize all unauthorized

communications, and the interceptions were therefore lawful.

                                 Conclusion

             For all of the foregoing reasons the Defendant’s Motion

To Suppress Contents Of Any And All Electronic Surveillance should

be denied.


             Accordingly,

             IT IS HEREBY RECOMMENDED that Defendant’s Motion To

Suppress Contents Of Any And All Electronic Surveillance (Docket

No. 215) be denied.


             The parties are advised that they have eleven (11) days

in   which    to   file   written       objections      to    this    Report     and

Recommendation.     Failure to timely file objections may result in

waiver of the right to appeal questions of fact.                Thompson v. Nix,

897 F.2d 356, 357 (8th Cir. 1990).




                                         UNITED STATES MAGISTRATE JUDGE




Dated this 29th day of January, 2007.




                                    - 14 -
